      Case: 1:16-cv-02714 Document #: 262 Filed: 04/11/22 Page 1 of 2 PageID #:3424




                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                          Civil Action No. 1:16-cv-02714
 LINDABETH RIVERA, and
 JOSEPH WEISS, individually and           Judge: Hon. Edmond E. Chang
 on behalf of all others similarly
 situated,

          Plaintiffs,

 v.

 GOOGLE, INC.,

          Defendant.


                               JOINT STATUS REPORT

         The parties submit this status report pursuant to this Court’s Memorandum Opinion and

Order dated August 30, 2021 (ECF 258)(“Order”). For the reasons stated in the Order, this action

was stayed in favor of a parallel case filed in Illinois state court. The Illinois state court case is

proceeding and the conditions that prompted this Court to stay this action have not changed. The

parties agree that this action should remain stayed pending the outcome of the state court litigation.

The parties respectfully request that the Court set another status report deadline for approximately

180-days from the date of this report.


Respectfully Submitted,
April 11, 2022
  Case: 1:16-cv-02714 Document #: 262 Filed: 04/11/22 Page 2 of 2 PageID #:3425




       By: /s/David P. Milian              By: /s/Susan Fahringer

       CAREY RODRIGUEZ MILIAN, LLP         PERKINS COIE LLP
       David P. Milian*                    Susan D. Fahringer*
       dmilian@careyrodriguez.com          sfahringer@perkinscoie.com
       1395 Brickell Avenue, Suite 700     Ryan Spear
       Miami, Florida 33131                rspear@perkinscoie.com
       Tel: (305) 372-7474                 Nicola Menaldo
       Fax: (305) 372-7475                 nmenaldo@perkinscoie.com
                                           1201 Third Avenue, Suite 4900
       AHDOOT & WOLFSON, P.C.              Seattle, Washington 98101
       Tina Wolfson*                       Tel: (206) 359-8000
       twolfson@ahdootwolfson.com
       Robert Ahdoot
       rahdoot@ahdootwolfson.com           PERKINS COIE LLP
       Bradley K. King                     Debra R. Bernard
       bking@ahdootwolfson.com             dbernard@perkinscoie.com
       2600 West Olive Ave., Ste. 500      Kathleen A. Stetsko
       Burbank, California 91505           kstetsko@perkinscoie.com
       Tel: (310) 474-9111;                131 South Dearborn Street, Suite 1700
       Fax: (310) 474-8585                 Chicago, Illinois 60603
                                           Tel: (312) 324-8400

       CARLSON LYNCH, LLP                  Attorneys for Defendant
       Katrina Carroll
       kcarroll@carlsonlynch.com
       Kyle Shamberg
       kshambert@carlsonlynch.com
       111 West Washington Street, Suite
       1240
       Chicago, IL 60602
       Tel: (312) 750-1265

       Attorneys for Plaintiffs

*Admitted pro hac vice
